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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                 8:13CR317
       vs.                                      )
                                                )                   ORDER
                                                )
LOWELL ELDON FANNING and                        )
OTTO R ROWELL,                                  )
                                                )
                      Defendants.


         This matter is before the court is defendant Otto R. Rowell and Eldon Fanning’s
unopposed motions to continue trial [34] and [36] as counsel need additional time to prepare
for trial. The court finds good cause being shown and the trial for both defendants shall be
continued. The defendant has complied with NECrimR 12.1(a).

       IT IS ORDERED that the motions to continue trial is granted, as follows:

       1. The jury trial now set for December 3, 2013 is continued to January 14, 2014.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and January 14, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED November 22, 2013.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
